         Case 4:05-cr-40008-JPG                       Document 99             Filed 09/20/05              Page 1 of 6           Page ID #182


QAO 2458      (Rev. 12103) Judgment in a C r m Case




                         SOUTHERN                                  District of                                  ILLINOIS

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                v.
                    PAMELA SUE KING
                                                                           Case Number: 4:05CR40008-002-JPG

                                                                           USM Number:06675-025



THE DEFENDANT:
d pleaded guilty to count($
   pleaded nolo contendere to c
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
                                                                                                                                              ".-
The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature ofOfTense                                                         Offense Ended
        &.,&.::..        ,:
                         . .
                             1.1'   r                                                               . .   ?
               .     .
                                        Grams or More of Metham~hetamine



       The defendant is sentenced as provided in pages 2 through                 9        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
0 Count(s)                                               0 is           are dismissed on the motion of the United States.

         It is ordered tho1 ihc defendant must nartil) ihe IJni1r.d Swtes attorney for this dibtrizt within 30 Jlrys,of;my c h a r y of name, rcsiJmuc,
or mailing address until all fines. restituiion, cosls. and special assdssmcnts imposed 4\ thi\ judgment arc l'u I) p a ~ di t ur crcd to pa) restitution,
the dcknrlani must noti6 ihc coun and I'niied Sta1r.i attm~r.?ol'materid chunges i n euonomlc arcumsunces.




                                                                           J . Phil Gilbert, District Judge
                                                                            Name andRtle of Judge
           Case 4:05-cr-40008-JPG                       Document 99            Filed 09/20/05           Page 2 of 6       Page ID #183


A 0 2458        (Rev. lZ03) Judgment in Criminal Case
                sheet 2 - 1mp"sonment
t
 DEFENDANT: PAMELA SUE KING
 CASE NUMBER: 4:05CR40008-002-JPG


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:
 46 months on Count 1 of the Superseding Indictment.




           The court makes the following recommendations to the Bureau of Prisons:

 That the defendant b e placed in the Intensive Drug Treatment Program.




     d The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

           17     at                                      a.m.     17 p.m.      on
                  as notified by the United States Marshal.

           The defendant shall surrender for sewice of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.
           17     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 a                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
           Case 4:05-cr-40008-JPG                      Document 99           Filed 09/20/05            Page 3 of 6         Page ID #184



A 0 2458      (Rev. 1x03)Judgment in a Criminal Case

c             Sheet 3 - Supelvised Release

 DEFENDANT: PAMELA SUE KING
 CASE NUMBER: 4:05CR40008-002-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
   3 years on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation offrcer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the tint five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officerand follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation off~cerat least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphemaha related to any controlled substances, except as prescrrbed by a phys~cian;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profatton officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  I I)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13,         direcreJ by the robation olticer, the dcfenJdnt shdll notif!, third pdrtiesofrisks that ma) hcoccxsioned by !hedcfend;lnt'si~iminal
           record or personay histor): or chmdcreri.~lics      shall p c h i l rhe prohal~nnofliier 11, make such notiticarron.>and lo conl~rm[he
           dekndanl s compliance nrth such notilicatinn rcquiremenl.
       Case 4:05-cr-40008-JPG                        Document 99   Filed 09/20/05        Page 4 of 6         Page ID #185

A 0 2458   (Rev. 12/03) Judgment in a Cnminal Case
           sheet 3C - ~up&ised Release
                                                                                             ludgment-Page   4 of            9
DEFENDANT: PAMELA SUE KING
CASE NUMBER: 4:05CR40008-002-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defendant shall pay the n  ife in installments of $10.00 or ten
  percent of her net monthly income, whichever is greater.

    The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
  with access to any requested financial information. The defendant is advised that the probation office may share financial
  information with the Financial Litigation Unit.

    The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immediately notify the probatio offlcer of the receipt of any indicated monies.

    The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
  alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
  based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
  costs of counseling.
           Case 4:05-cr-40008-JPG                     Document 99             Filed 09/20/05               Page 5 of 6        Page ID #186

A 0 2458    (Rev. 12/03)Judgment in a Criminal Case


DEFENDANT: PAMELA SUE KING
CASE NUMBER: 4:05CR40008-002-JPG
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                                Restitution
 TOTALS             $ 100.00                                                                                $



     The detcrmination of restitution is deferred until   -. An Amended Judgmenf in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     lithe jefendant makes a panial pa)ment, ra;h pa ce .hall receite an appro~imatelypro onioncd dyment, unless specified otherulse jn
     the prwrlty order or pcrc,entegs payment c o l u m n x k r . Ilo\wer, punwant to I8 I . s . ~ $. 3664&, all nonfedernl w u m s murt be pmd
     hefore the United States IS pad.




 TOTALS                               $                       0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. g 3612(f). All of the payment options on Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the              fine          restitution.
            the interest requirement for the           fine          restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 1I3A ofTitle 18 for offensescornrninedonor after
 September 13,1994, but before April 23,199%.
           Case 4:05-cr-40008-JPG                    Document 99           Filed 09/20/05            Page 6 of 6           Page ID #187

A 0 2458    (Twv 12/03)Judgment in a Criminal Case
            Sheet 6 -Schedule of Payments
                                                                                                        Judgment- Page 1of                     9
 DEFENDANT: PAMELA SUE KING
 CASE NUMBER: 4:05CR40008-002-JPG

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A          Lump sum payment of $                            due immediately, balance due

            IJ not later than                                    , or
            IJ in accordance                  C,      D,           E, or         F below; or

 B    IJ Payment to begin immediately (may be combined with                 C,        IJ D, or      F below); or

 C    IJ Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                    ( e g , weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    IJ Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    i
      jSpecial instructions regarding the payment of criminal monetary penalties:
             While on S u p e ~ i S e drelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of her net monthly income, whichever is greater.



 IInlcssthccoun ha\exprvbbl\orderedothcn~isc,   ifthisjudgment imposes imprisonment, u mcnt oicriminal rnonetan, penalties isduedurin
 irnpriwnmcnl. All crtminal m o n e y ppenaltles, evccpt thohc payments made througi lie Fcdcral Uurrau of Prisons' Inmate ~inmcia?
 Ke>pnn\ibilit) Prognm, arc made to t v clerk ofthe coun.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost($:

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in,the followjng order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine mnte,~~st,
                 (6) community rt~tiNtlOn,(7) penalties, and (8) costs, including cost of prosecution and court costs.
